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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

DAVONTAE ROSS, et al.,

      Plaintiffs,                            Case No. 19-11076
                                             Honorable Laurie J. Michelson
v.

HONRABLE CHIEF JUDGE OF
MICHIGAN’S 36TH DISTRICT COURT,
et al.,

      Defendants.


                    NOTICE OF TELEPHONE CONFERENCE


      On October 27, 2021 at 1:00 p.m., the Court will hold a telephone status

conference in this matter.

      To participate in the conference, dial into the Eastern District of Michigan’s

telephone conference system at (866) 434-5269. The system will then provide

directions for joining the call; when asked for an access code, use 9819334. If

possible, please refrain from participating in the conference on a cell phone.

      Dated: August 20, 2021


                                 s/Erica Parkin
                                 Case Manager to
                                 District Judge Laurie J. Michelson
                                 (313) 234-5095
